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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

United States of America,                                     Case No. 17-cv-136 (PAM/FLN)

               Plaintiffs,                                    ORDER

               v.

KleinBank,

               Defendant.

                             ______________________________________

                                Aurora Bryant, for Plaintiff.
                            Alexander Chiquoine, for Defendant.
                 ___________________________________________________

        THIS MATTER came before the undersigned United States Magistrate Judge on the

parties’ joint motion regarding continued sealing (ECF No. 60). By their joint motion, the parties

seek to maintain under seal docket entry 45 that was initially filed under a temporary seal pursuant

to Local Rule 5.6(d)(1).1 Given that docket entry 45 quotes material the Court previously held must

remain under seal, the Court grants the parties’ request to maintain docket entry 45 under permanent

seal.

        Based upon the foregoing, and all of the files, records and proceedings herein, it is hereby

ORDERED that the parties’ joint motion regarding continued sealing (ECF No. 60) is GRANTED.

Docket entry 45, referenced above, will remain SEALED.

DATED: February 28, 2018                              S/Franklin L. Noel
                                                      FRANKLIN L. NOEL
                                                      United States Magistrate Judge



1       In the future, when filing joint motions regarding continued sealing, the parties are directed
        to use the form motion, which is a spreadsheet configured template, available on the District
        of Minnesota’s website: http://www.mnd.uscourts.gov/FORMS/court_forms.shtml#jmforms.
